AO 245B (Rev. )   Judgment in a Criminal Case
                        Sheet 1



                                          UNITED STATES DISTRICT COURT
                                      Eastern District of North Carolina
                                                        )
              UNITED STATES OF AMERICA                  )    JUDGMENT IN A CRIMINAL CASE
                         v.                             )
                                                        )
              WILLIAM SCOTT DAVIS, JR.                       Case Number: 5:14-CR-240-1BR
                                                        )
                                                        )    USM Number: 84944-083
                                                        )
                                                        )     Thomas C. Manning
                                                        )    Defendant’s Attorney
THE DEFENDANT:
G pleaded guilty to count(s)
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G
✔ was found guilty on count(s)            3, 4, 5, 6 (Second Superseding Indictment)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended              Count

 18 U.S.C. § 2261A(2)(B), 18        Cyberstalking                                                              8/17/2014                 3ss
 U.S.C. § 2261(b)(5)




       The defendant is sentenced as provided in pages 2 through                   9        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G
✔ Count(s)     Original, Superseding Indictment and        G is      G
                                                                     ✔ are dismissed on the motion of the United States.
               1&2 Second Superseding Indictment
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                             3/22/2018
                                                                            Date of Imposition of Judgment




                                                                             W. EARL BRITT, SENIOR US DISTRICT JUDGE
                                                                            Name and Title of Judge


                                                                               3/29/2018
                                                                            Date




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                                           ADDITIONAL COUNTS OF CONVICTION
Title & Section                  Nature of Offense                      Offense Ended              Count
18 U.S.C. § 875(c)                Threatening Communications             7/17/2014                  4ss

18 U.S.C. § 875(c)                Threatening Communications             8/6/2014                   5ss



18 U.S.C. § 875(c)                Threatening Communications             8/17/2014                 6ss




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AO 245B (Rev. ) Judgment in Criminal Case
                     Sheet 2   Imprisonment

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                                                            IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
  COUNT 3ss - 60 MONTHS
  COUNT 4ss - 60 MONTHS TO BE SERVED CONSECUTIVELY TO COUNT 3ss
  COUNTS 5ss AND 6ss - 24 MONTHS TO BE SERVED CONCURRENTLY AND CONSECUTIVELY TO COUNTS 3ss AND 4ss TO THE EXTENT
  NECESSARY TO PRODUCE A TOTAL TERM OF 144 MONTHS
      ✔ The court makes the following recommendations to the Bureau of Prisons:
      G
      %FGFOEBOU CF IPVTFE BU UIF 'FEFSBM .FEJDBM $FOUFS JO 3PDIFTUFS .JOOFTPUB XIFSF JT IF UP CF QSPWJEFE XJUI NFEJDBM BOE NFOUBM
      IFBMUI USFBUNFOU 'VSUIFS UIF DPVSU PSEFST UIBU XIJMF IF JT JODBSDFSBUFE UIF EFGFOEBOU JT EJSFDUFE BOE UIF #VSFBV PG 1SJTPOT JT UP
      FOTVSF UIBU UIF EFGFOEBOU OPU IBWF BOZ DPOUBDU CZ BOZ NFBOT XJUI UIF WJDUJNT .FMBOJF 4IFLJUB .JDIFMMF 4BWBHF BOE 4ZEOFZ #BUDI
      BOE UIFJS GBNJMJFT -BTUMZ UIF EFGFOEBOU JT EJSFDUFE OPU UP GJMF BOZ GSJWPMPVT PS IBSBTTJOH MFHBM EPDVNFOUT

      G
      ✔ The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
            G at                                  G a.m.       G p.m.         on                                             .

            G as notified by the United States Marshal.

      G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            G before 2 p.m. on                                            .

            G as notified by the United States Marshal.
            G as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                       to

 aW                                                 , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                          By
                                                                                                DEPUTY UNITED STATES MARSHAL




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AO 245B (Rev. ) Judgment in a Criminal Case
                     Sheet 3   Supervised Release
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DEFENDANT: WILLIAM SCOTT DAVIS, JR.
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                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 COUNTS 3ss, 4ss, 5ss AND 6ss - 3 YEARS, ALL TERMS TO RUN CONCURRENTLY.




                                                    MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
.   You must not unlawfully possess a controlled substance.
.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            G✔ The above drug testing condition is suspended, based on the court's determination that you
                  SRVH D ORZ ULVN RI IXWXUH VXEVWDQFH DEXVH FKHFN LI DSSOLFDEOH
     ✔
      G <RX PXVW PDNH UHVWLWXWLRQ LQ DFFRUGDQFH ZLWK  86&   DQG $ RU DQ\ RWKHU VWDWXWH DXWKRUL]LQJ D VHQWHQFH RI
          UHVWLWXWLRQ FKHFN LI DSSOLFDEOH
.    G✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
.    G You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in WKH ORFDWLRQ whHUH you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
.    G You must participate in an approved program for domestic violence. (check if applicable)



You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




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                     Sheet 3A Supervised Release
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                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date




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                     Sheet 3C    Supervised Release
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                           ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
The defendant shall not incur new credit charges or open additional lines of credit without approval of the probation office.
The defendant shall provide the probation office with access to any requested financial information.




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                     Sheet 3D    Supervised Release
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                                         SPECIAL CONDITIONS OF SUPERVISION
The defendant shall participate in a program of mental health treatment, as directed by the probation office.

The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation officer, any other law
enforcement officer, of the defendant’s person and premises, including any vehicle, to determine compliance with the conditions of this judgment.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

The defendant shall participate in an approved program for domestic violence.

The defendant shall have no direct or indirect contact, at any time and for any reason, with the victim(s), the victim’s family, or affected parties in this
matter unless provided with specific, written authorization in advance by the U.S. Probation Officer.

The defendant shall have no internet access during the time period without the express permission of the United States Probation Office.

At the direction of the U.S. Probation Officer, the defendant shall consent to the installation of systems or software that will allow the probation
officer or designee to monitor computer use on any computer that the defendant owns or is authorized to use. The defendant shall pay the costs of this
monitoring.

The defendant shall not file any lawsuit without the services of a license attorney or the prior permission of the United States Probation Office.




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AO 245B (Rev. )   Judgment in a Criminal Case
                       Sheet 5   Criminal Monetary Penalties
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 DEFENDANT: WILLIAM SCOTT DAVIS, JR.
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                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                  JVTA Assessment*                   Fine                     Restitution
 TOTALS            $ 400.00                     $                                  $                         $ 81.33


 G The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 ✔ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
 G
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                      Total Loss**                 Restitution Ordered          Priority or Percentage

  Sydney Batch                                                                          $81.33                  $81.33




 TOTALS                               $                        81.33           $                        81.33


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ✔
 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ✔ the interest requirement is waived for the
       G                                                       G fine      ✔ restitution.
                                                                           G
       G the interest requirement for the           G fine      G      restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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$2 % 5HY  -XGJPHQW LQ D &ULPLQDO &DVH
                   Sheet 6   Schedule of Payments

                                                                                                                                          Judgment        Page                of            
DEFENDANT: WILLIAM SCOTT DAVIS, JR.
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                                                                 SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A    G Lump sum payment of $                                                  due immediately, balance due

           G      not later than                                                    , or
           G      in accordance with           G      C,      G     D,       G       E, or        G F below; or
B    G
     ✔ Payment to begin immediately (may be combined with                                      G C,            G D, or           G
                                                                                                                                 ✔ F below); or


C    G Payment in equal                                (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                             (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                                (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                             (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    G Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G
     ✔ Special instructions regarding the payment of criminal monetary penalties:
           Payment of the special assessment shall be due immediately Payment of restitution shall be due and payable in full immediately However, if the defendant is unable to pay in full
           immediately, the special assessment and restitution may be paid through the Inmate Financial Responsibility Program (IFRP) The court orders that the defendant pay a minimum
           payment of $25 per quarter through the IFRP, if available The court, having considered the defendant’s financial resources and ability to pay, orders that any balance still owed at the
           time of release shall be paid in installments of $25 per month to begin 60 days after the defendant’s release from prison At the time of the defendant’s release, the probation officer
           shall take into consideration the defendant’s ability to pay the restitution ordered and shall notify the court of any needed modification of the payment schedule



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.


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